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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : MAGISTRATE NO. 21-MJ-051
JOHN HERBERT STRAND, and : VIOLATIONS:
SIMONE MELISSA GOLD, > «=: 18 U.S.C... §§ 1512(c)(2), 2
: (Obstruction of an Official Proceeding)
Defendants. : 18U.S.C. § 1752(a)(1)
: (Entering and Remaining in a Restricted
Building or Grounds)
18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in a Capitol Building)
40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT
The Grand Jury charges that:
COUNT ONE

On or about January 6, 2021, within the District of Columbia and elsewhere, JOHN
HERBERT STRAND and SIMONE MELISSA GOLD, attempted to, and did, corruptly
obstruct, influence, and impede an official proceeding, that is, a proceeding before Congress, by
entering and remaining in the United States Capitol without authority and committing an act of
civil disorder and engaging in disorderly and disruptive conduct.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)
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COUNT TWO
On or about January 6, 2021, within the District of Columbia, JOHN HERBERT
STRAND and SIMONE MELISSA GOLD, did unlawfully and knowingly enter and remain in
a restricted building and grounds, that is, any posted, cordoned-off, or otherwise restricted area
within the United States Capitol and its grounds, where the Vice President and Vice President-
elect were temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT THREE

On or about January 6, 2021, within the District of Columbia, JOHN HERBERT
STRAND and SIMONE MELISSA GOLD, did knowingly, and with intent to impede and disrupt
the orderly conduct of Government business and official functions, engage in disorderly and
disruptive conduct in and within such proximity to, a restricted building and grounds, that is, any
posted, cordoned-off, or otherwise restricted area within the United States Capitol and its grounds,
where the Vice President and Vice President-elect were temporarily visiting, when and so that
such conduct did in fact impede and disrupt the orderly conduct of Government business and
official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT FOUR
On or about January 6, 2021, within the District of Columbia, JOHN HERBERT
STRAND and SIMONE MELISSA GOLD, willfully and knowingly engaged in disorderly and
disruptive conduct in any of the Capitol Buildings with the intent to impede, disrupt, and disturb

the orderly conduct of a session of Congress and either House of Congress, and the orderly conduct
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in that building of a hearing before or any deliberation of, a committee of Congress or either House

of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT FIVE

On or about January 6, 2021, within the District of Columbia, JOHN HERBERT
STRAND and SIMONE MELISSA GOLD, willfully and knowingly paraded, demonstrated, and

picketed in any United States Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:
FOREPERSON.

Attorney of the United States in
and for the District of Columbia.

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